Case 1:21-cv-00973-JRS-MPB Document 16 Filed 04/23/21 Page 1 of 1 PageID #: 178




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

  JOHN DOE

               Plaintiff,

        v.

  THE TRUSTEES OF INDIANA                             Case No. 1:21-cv-973-JRS-MPB
  UNIVERSITY, and INDIANA
  UNIVERSITY, PURDUE UNIVERSITY –
  INDIANAPOLIS,

               Defendants.



                               APPEARANCE OF COUNSEL

 TO:   The Clerk of the Court and all parties of record

       I appear in this case as counsel for:     Defendants, The Trustees of Indiana

 University and Indiana University, Purdue University - Indianapolis.

 Dated: April 23, 2021                   /s/ Alice M. Morical
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